             Case 5:06-cv-01730-JW Document 15 Filed 03/15/06 Page 1 of 7


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15   TONY ANCHUNDO, IN HIS CAPACITY AS MONTEREY COUNTY
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16

17                              UNITED STATES DISTRICT COURT
18                            NORTHERN DISTRICT OF CALIFORNIA
19                                      SAN JOSE DIVISION
20   WILLIAM MELENDEZ; KEN GRAY; JYL    )          Case No: C 06-1730 JW
     LUTES; CAROLYN ANDERSON; AND       )
21   LANDWATCH MONTEREY COUNTY,         )              ASSIGNED FOR ALL PURPOSES TO:
                                        )                    HON. JAMES WARE
22              Plaintiffs/Petitioners, )
                                        )
23        vs.                           )          DEFENDANTS/RESPONDENTS’
                                        )          OPPOSITION TO EX PARTE
24   BOARD OF SUPERVISORS OF THE COUNTY )          APPLICATION FOR TEMPORARY
     OF MONTEREY; TONY ANCHUNDO, IN HIS )          RESTRAINING ORDER
25   CAPACITY AS MONTEREY COUNTY        )
     REGISTRAR OF VOTERS; COUNTY OF     )
26   MONTEREY; AND DOES 1 THROUGH 10,   )          Date:   March 16, 2006
     INCLUSIVE,                         )          Time:   1:00 p.m.
27                                      )          Dept:   8
                Defendants/Respondents. )
28                                      )

     200283_1.DOC                                                        Case No: C 06-1730 JW
      DEFENDANTS/RESPONDENTS’ OPPOSITION TO EX PARTE APPLICATION FOR TEMPORARY RESTRAINING
                                             ORDER
                 Case 5:06-cv-01730-JW Document 15 Filed 03/15/06 Page 2 of 7




 1   1.        INTRODUCTION.
 2             Defendants/Respondents (hereafter “Defendants”) agree this matter needs to be handled
 3   expeditiously. However, there is no need for a TRO so long as the Court is able to act on the
 4   preliminary injunction in the time frame proposed by Plaintiffs—March 28. Indeed, the County can still
 5   include the matter on a supplemental ballot, so long as the Court is able to rule on the preliminary
 6   injunction by April 6. Thus the Plaintiffs (Petitioners/Plaintiffs in the Superior Court), will not be
 7   prejudiced by the lack of a TRO. The Defendants will cooperate fully in an expedited briefing schedule
 8   in seeing that the matter can be resolved by March 28.
 9             On the other hand, were a TRO to issue, and then the Court later determine an election should
10   not go forward, the County to its prejudice would have expended needless funds and would have
11   confused the public. As the County will demonstrate at the preliminary injunction hearing, the County
12   Board of Supervisors rightly voted to keep this Initiative off the ballot, because of its fatal procedural
13   and substantive defects -- defects the Plaintiffs have largely not addressed in their moving papers. To
14   impose Plaintiffs’ TRO would result in “the useless expenditure of money and creation of emotional
15   community divisions.” Citizens for Responsible Behavior v. Superior Court, 1 Cal. App. 4th 1013, 1023
16   (1991).
17             Defendants request the Court deny the Plaintiffs’ request for a TRO, and set this matter for a
18   shortened briefing schedule on the merits of the Plaintiffs’ claims.
19   2.        CONTRARY TO THE PLAINTIFFS’ CLAIM, THIS MATTER CAN BE DECIDED AND
20             RESOLVED ON ITS MERITS AS LATE AS APRIL 6, 2006.
21             Elections Code section 9163 governs the timeline for the actions that must take place prior to the
22   printing of elections materials. The County elections official determines the timeframe for submittal of
23   ballot arguments for and against the measure (Cal. Elect. Code, § 9162); submittal of rebuttal arguments
24   (id. at § 9167) and the ten-day public examination period (id. at § 9190). See Cal. Elec. Code, § 9163.
25   The County elections official determines the deadlines for those events, “[b]ased on the time reasonably
26   necessary to prepare and print the argument, analysis, and sample ballots and to permit the 10-calendar-
27   day public examination … .” Cal. Elec. Code, § 9163.
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     200283_1.DOC                               -1-                      Case No: C 06-1730 JW
      DEFENDANTS/RESPONDENTS’ OPPOSITION TO EX PARTE APPLICATION FOR TEMPORARY RESTRAINING
                                             ORDER
                 Case 5:06-cv-01730-JW Document 15 Filed 03/15/06 Page 3 of 7




 1            While the Plaintiffs correctly note that the deadline for submittal of ballot materials to the printer
 2   is March 28, 2006, the County is able to work with its printer to accommodate a slightly later date, April
 3   12. Declaration of Tony Anchundo (“Anchundo Decl.”) at ¶5. This will result in the materials being
 4   included on the same ballot as all other measures, the “composite” ballot.
 5            Further, the County can instead place the matter on a “supplemental” ballot. The supplemental
 6   ballot election materials need to be at the printer by April 21, 2006, and still have the supplemental
 7   materials ready for the June 6, 2006, general election. Id. at ¶6. Backing these dates up to account for
 8   what must be done before, the basic tasks can be accomplished so long as the County knows the Court’s
 9   decision by March 28, to make the composite ballot, or April 6, to make the supplemental ballot. Id. at
10   ¶¶8-9.
11            Election Code § 9190 allows 10 days public examination before the County “submits” the
12   “official” election materials to the printer. The setting of such dates is within the discretion of the
13   County Elections official. Cal. Elec. Code § 9163. In this case, so as not to deprive the public of its
14   rights, the submission date and the inspection period would have to be deemed ordered to extend after
15   the physical date when the County delivers the materials. But that is true even were the Court to grant
16   the TRO, because the various materials could not be prepared even if the County began March 16.1
17   3.       THE PLAINTIFFS’ PROPOSED TIMELINES WOULD WREAK HAVOC WITH THE
18            ELECTIONS PROCESS IN THE COUNTY AND WOULD ONLY RESULT IN VOTER
19            CONFUSION.
20            Aside from the lack of urgency Plaintiffs suggest, the TRO application is without merit for
21   another reason: it seeks an order from this Court directing the County to process a ballot measure that
22   does not exist. In a public session on February 28, 2006, the County Board of Supervisors voted not to
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     1 Section 9190 provides that a member of the public who believes the election materials are false or
26   misleading may bring a writ or injunction proceeding within 10 days. Mathematically that might happen
     after the County sent the materials to the printer. However, the risk of additional cost would be
27   minimal, since no writ of injunction proceeding would be determined in court until after the printing
28   process began anyway.
     200283_1.DOC                               -2-                      Case No: C 06-1730 JW
      DEFENDANTS/RESPONDENTS’ OPPOSITION TO EX PARTE APPLICATION FOR TEMPORARY RESTRAINING
                                             ORDER
               Case 5:06-cv-01730-JW Document 15 Filed 03/15/06 Page 4 of 7




 1   submit the Initiative to the voters, because of its numerous procedural and substantive flaws, discussed
 2   in summary fashion below.
 3          The Plaintiffs nevertheless want this Court to direct the County to: (a) solicit public submittal of
 4   ballot arguments for and against the measure (Cal. Elect. Code, § 9162); (b) solicit public submittal of
 5   rebuttal arguments (id. at § 9167); (c) prepare an impartial ballot measure analysis (§9160); and (d)
 6   employ the ten-day public examination period (id. at § 9190).
 7          Each of those actions presupposes the existence of a measure that has been submitted to the
 8   voters on the ballot. Aside from turning the statute on its head, granting the TRO would force the
 9   County to act as if it had done the opposite of what it did -- and thereby force the County to undertake
10   actions inherently contradictory to its decision of February 28, 2006. Such an outcome would create
11   inevitable and unnecessary confusion among the voters of the County.
12   4.     A MANDATORY TRO WOULD NOT PRESERVE THE STATUS QUO; DEFENDANTS
13          WOULD BE PREJUDICED BY INCURRING UNNECESSARY EXPENSE.
14          The basic function of a preliminary injunction is to preserve the status quo pending a
15   determination of the action on the merits. Chalk v. United States Dist. Ct., 840 F.2d 701, 704 (9th Cir.
16   1988). A preliminary injunction is appropriate if the moving party demonstrates either (1) a probability
17   of success on the merits and a possibility of irreparable injury, or (2) serious questions going to the
18   merits and the balance of hardships tipping sharply in his favor. Id. These are not discrete tests, but are
19   instead "outer reaches '
                            of a single continuum.'
                                                  " Id. (citations omitted). The standard is identical for a
20   temporary restraining order. See, e.g., William W. Schwarzer et al., California Practice Guide, Federal
21   Civil Procedure Before Trial (Rutter 2005), ¶ 13.7 at 13-3, citing Granny Goose Foods, Inc. v.
22   Brotherhood of Teamsters and Auto Truck Drivers (1974) 415 U.S. 423, 439 (A temporary restraining
23   order is a form of preliminary injunctive relief that can be issued, under narrow circumstances, without
24   notice to the other party or that party’s attorney. Its sole purpose is to preserve the status quo pending
25   hearing on the … preliminary injunction) (emphasis added).
26          Although both mandatory and prohibitory injunctions are governed by the same criteria, courts
27   are generally more cautious about issuing mandatory injunctions that would alter the status quo by
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     200283_1.DOC                               -3-                      Case No: C 06-1730 JW
      DEFENDANTS/RESPONDENTS’ OPPOSITION TO EX PARTE APPLICATION FOR TEMPORARY RESTRAINING
                                             ORDER
                  Case 5:06-cv-01730-JW Document 15 Filed 03/15/06 Page 5 of 7




 1   commanding some positive act. Schwarzer et al., supra, ¶13:79.5 at 13-39. See, also, Dahl v. HEM
 2   Pharmaceuticals Corp., 7 F.3d 1399, 1403 (9th Cir. 1993) (“[T]his injunction required affirmative
 3   conduct by Ampligen … Such ‘mandatory preliminary relief’ is subject to heightened scrutiny and
 4   should not be issued unless the facts and law clearly favor the moving party.”)
 5          As set forth in Mr. Anchundo’s declaration the County will incur numerous expenses if it has to
 6   go forward with the items requested in the TRO application. It would have to key (type) in the
 7   Initiative, the arguments in favor of, and the arguments against. It would have to obtain a certified
 8   translator and translate them all into Spanish. The translations would have to be keyed in. County
 9   Counsel would have to prepare a summary. That would have to be translated and keyed in. Not
10   mentioned in the declaration is the newspaper advertising for ballot arguments, which would have to be
11   paid for. In sum, the County would incur numerous expenses. Offsetting that is the fact the Plaintiffs
12   will not be prejudiced by the lack of a TRO, were the Court to decide on March 28 the election should
13   go forward, because it could do so on a timely basis. Especially with the heightened scrutiny created by
14   this being a mandatory injunction, the balance of hardships tips strongly in the Defendants’ favor.
15   5.     THE PLAINTIFFS HAVE NOT EVEN TRIED TO ADDRESS THE NUMEROUS,
16          FATAL FLAWS THAT REQUIRED THE COUNTY TO KEEP IT OFF THE BALLOT.
17          In view of the nature of a TRO proceeding, Defendants have not provided a full blown brief on
18   the merits of Plaintiffs’ claims, as will be done in response to the preliminary injunction. The Plaintiffs’
19   papers address the Initiative’s probable violations of the Voting Rights Act of 1964, but completely
20   overlook the numerous other procedural and substantive infirmities of the Initiative. Although
21   Defendants do not address the points fully, a summary follows:
22          (a)      The Initiative Petition Was Not Circulated in Spanish, Resulting in Probable
23   Violations of the Federal Voting Rights Act: The Ninth Circuit very recently held that failure to
24   circulate a recall petition in the minority language constitutes a violation of section 203 of the Voting
25   Rights Act of 1964. See Padilla v. Lever, 429 F.3d 910 (9th Cir. 2005).2 The proponents of the
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     2      We understand that a petition for an en banc rehearing has been filed by the appellees in Padilla
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     200283_1.DOC                               -4-                      Case No: C 06-1730 JW
      DEFENDANTS/RESPONDENTS’ OPPOSITION TO EX PARTE APPLICATION FOR TEMPORARY RESTRAINING
                                             ORDER
                   Case 5:06-cv-01730-JW Document 15 Filed 03/15/06 Page 6 of 7




 1   Initiative petition failed to circulate the Initiative petition in Spanish. On the basis of that potential
 2   violation, three voters of the County have filed an action in declaratory and injunctive relief against the
 3   County. See Madrigal v. County of Monterey, No. C06-01407 (N.D. Cal. 2006). That action is pending
 4   in this Court.3
 5           (b)       The Initiative Did Not Contain the Full Text of the County Land Use Documents It
 6   Purports to Amend. On that Basis, It Violates the Full-Text Rule: Compliance with the “Full-Text
 7   Rule” has been held to be essential to the integrity of elections in California. Mervyn’s v. Reyes, 69 Cal.
 8   App. 4th 93, 101 (1998). The Initiative did not contain the full text of the documents it purports to
 9   amend -- thereby precluding full disclosure of the Initiative’s effects, and foreclosing informed decision-
10   making by the electorate. On that basis alone, the County had a ministerial duty to reject the Initiative.
11   Id., at 104-105.
12           (c)       The Initiative Violates the Single-Subject Rule by Containing a Right-of-First
13   Refusal Clause That Is Unrelated to the Initiative’s Growth-Control Goals: The Initiative’s right-
14   of-first refusal for residents to purchase new affordable housing has nothing to do with the Initiative’s
15   growth control objectives. The joining of such disparate enactments violates the Single-Subject Rule.
16   Senate of the State of California v. Jones, 21 Cal. 4th 1142, 1158 (1999).
17           (d)       The Initiative Directly Collides With the State’s Legislative Scheme for Addressing
18   Housing Needs in California -- an Area of Statewide Concern: The Legislature has enacted a
19   comprehensive statutory scheme for the amendment of housing elements. The Initiative nevertheless
20   purports to amend the County Housing Element and subject all future amendments of that document to a
21   vote of the electorate -- a process that conflicts with the State statutory scheme. The Initiative therefore
22   would force the County to violate State law. On that basis, the Initiative is void ab initio.
23

24
     and is currently pending in this case.
25
     3       Defendants here will move to consolidate the two cases, which so far have been “related” under
26   the Rules. Defendants’ counsel have been informed by the attorneys for the Madrigal plaintiffs that on
     Friday they will file a motion for a preliminary injunction asking that the Court enjoin the election from
27   taking place. These conflicting cases need to be addressed jointly. A TRO in this case would only
28   exacerbate the conflict between these two cases.
     200283_1.DOC                               -5-                      Case No: C 06-1730 JW
      DEFENDANTS/RESPONDENTS’ OPPOSITION TO EX PARTE APPLICATION FOR TEMPORARY RESTRAINING
                                             ORDER
                  Case 5:06-cv-01730-JW Document 15 Filed 03/15/06 Page 7 of 7




 1          (e)      The Initiative Intrudes on State Law Governing the Annexation of Unincorporated
 2   Territories: The Initiative subjects development outside of city boundaries and defined community
 3   area urban limit lines to a vote of the County electorate. The movement of city boundaries and
 4   annexation of unincorporated territories therefore is subject to the fiat of the voters of the County. Such
 5   a scheme conflicts with the carefully crafted state scheme for annexing unincorporated land -- an area of
 6   statewide concern. On that basis, the Initiative is void.
 7          (f)      The Initiative Conflicts With the Subdivision Map Act: The Initiative exempts
 8   vesting tentative maps -- and only vesting tentative maps -- from its growth control restrictions. The
 9   scope of the Initiative’s protections ignores the broader legislative protections afforded by the
10   Subdivision Map Act. The Initiative conflicts with state subdivision law, and impermissibly intrudes
11   into areas of statewide concern, rendering the Initiative void.
12   6.     CONCLUSION.
13          For the foregoing reasons, this Court should deny the Plaintiffs’ ex parte application for a
14   temporary restraining order and set a hearing date on the merits of the Plaintiffs’ claims in such a
15   manner that allows the County a reasonable period of time to file its opposition.
16

17   Dated: March 15, 2006                      NOSSAMAN, GUTHNER, KNOX & ELLIOTT, LLP
18
                                                                   /S/
19                                              By: ____________________________
                                                        STEPHEN N. ROBERTS
20
                                                Attorneys for Defendants/Respondents
21                                              BOARD OF SUPERVISORS OF THE COUNTY OF
                                                MONTEREY; TONY ANCHUNDO, IN HIS CAPACITY AS
22                                              MONTEREY COUNTY REGISTRAR OF VOTERS; AND
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     200283_1.DOC                               -6-                      Case No: C 06-1730 JW
      DEFENDANTS/RESPONDENTS’ OPPOSITION TO EX PARTE APPLICATION FOR TEMPORARY RESTRAINING
                                             ORDER
